Case 2:19-md-02904-MCA-MAH Document 636 Filed 12/28/23 Page 1 of 3 PageID: 12995



   LITE DEPALMA GREENBERG                       LEWIS BRISBOIS BISGAARD & SMITH
   & AFANADOR, LLC                              Bradley J. Bartolomeo
   Joseph J. DePalma                            77 Water Street, Suite 2100
   Catherine B. Derenze                         New York, NY 10005
   570 Broad Street, Suite 1201                 Telephone: (212) 232-1300
   Newark, NJ 07102                             Bradley.Bartolomeo@lewisbrisbois.com
   Telephone: (973) 623-3000
   jdepalma@litedepalma.com                     Attorneys for Defendants
   cderenze@litedepalma.com

   Attorneys for Plaintiffs

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


    IN RE: AMERICAN MEDICAL                         Case No.: 2:19-MD-02904-MCA-MAH
    COLLECTION AGENCY, INC.
    CUSTOMER DATA SECURITY                                   MDL 2904
    BREACH LITIGATION


                                                          JOINT NOTICE OF MOTION
                                                           TO SEAL PURSUANT TO
    Relating to: Other Labs Track                             LOCAL RULE 5.3


             PLEASE TAKE NOTICE that, on February 5, 2024, or a date and time to be set by the

  Court, Plaintiffs Gwendolyn Anderson and Tonda Tate and Defendants Sonic Healthcare USA,

  Aurora Diagnostics, LLC, Clinical Pathology Laboratories, and Austin Pathology Associates shall

  move jointly before Hon. Madeline Cox Arleo, U.S.D.J., at the United States District Court for the

  District of New Jersey, Martin Luther King Building & U.S. Courthouse, 50 Walnut Street,

  Newark, NJ 07101, for the entry of an order, pursuant to Local Civil Rules 5.3(c) permitting

  redactions or permanently sealing Exhibits K, L, and M annexed to the December 8, 2023 letter

  from Joseph J. DePalma, Esq., to Hon. Mark Falk (Ret.), as well as Exhibits H, I, J, K, and L

  annexed to the December 22, 2023 response letter from Bradley J. Bartolomeo. (Dkt. Nos. 627

  and 633 respectively).



  976382.1
Case 2:19-md-02904-MCA-MAH Document 636 Filed 12/28/23 Page 2 of 3 PageID: 12996



             PLEASE TAKE FURTHER NOTICE that, in support of the within motion, the parties

  shall rely upon the Declaration of Catherine B. Derenze in support of the Joint Motion to Seal

  Materials, and exhibit attached thereto. A proposed Findings of Fact and Conclusions of Law and

  Order Granting the Motion to Seal is also submitted for the Court’s consideration.

             PLEASE TAKE FURTHER NOTICE that a certificate attesting to the date and manner

  of service of these moving papers is submitted herewith.




   Dated: December 28, 2023          LITE DEPALMA GREENBERG & AFANADOR, LLC

                                     /s/ Joseph J. DePalma
                                     Joseph J. DePalma
                                     Catherine B. Derenze
                                     570 Broad Street, Suite 1201
                                     Newark, NJ 07102
                                     Telephone: 973-623-3000
                                     jdepalma@ litedepalma.com
                                     cderenze@litedepalma.com

                                     Counsel for Plaintiffs


                                     LEWIS BRISBOIS BISGAARD & SMITH
                                     Bradley J. Bartolomeo
                                     77 Water Street, Suite 2100
                                     New York, NY 10005
                                     Telephone: (212) 232-1300
                                     Bradley.Bartolomeo@lewisbrisbois.com

                                     Counsel for Defendants




                                                  2
  976382.1
Case 2:19-md-02904-MCA-MAH Document 636 Filed 12/28/23 Page 3 of 3 PageID: 12997



                                      CERTIFICATE OF SERVICE

             I, Joseph J. DePalma, hereby certify that on this day, true and correct copies of the

  following documents were served on all counsel of record via the Court’s ECF system (1) Joint

  Notice of Motion to Seal Pursuant to Local Rule 5.3; (2) Declaration of Catherine B. Derenze in

  Support of Joint Motion to Seal Pursuant to Local Rule 5.3; and (3) Proposed Findings of Fact

  and Conclusions of Law, and Order Granting Motion to Seal.

             I certify that the foregoing statements made by me are true. I am aware that if any of the

  foregoing statements made by me are willfully false, I am subject to punishment.



  Dated: December 28, 2023                         /s/ Joseph J. DePalma
                                                   Joseph. J. DePalma




                                                      3
  976382.1
